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TR|~COUNTY CONVALESCENT
HOME, lNC., ATENNESSEE CORP.,
AND SH|LOH DRUG AND SPEC|AL|TY
STORE, lNC., A TENNESSEE CORP.

PLA|NT|FFS,
NO. 1-04-1137
V.

HPIPROPERTIES, lNC., A

GEORG|A CORPORAT|ON,
HPIMANAGEMENT GROUP, lNC.l

A GEORG|A CORPORATION,
DOUGLAS K. M|TTLEIDER, AND
HPITHREE RIVERS, lNC., A GEORG|A
CORPORAT|ON,

\-i`_ll`ivvvv-v`-"-"d`i`-Ivvv

DEFENDANTS.

 

ORDER GRANT|NG PART|ES’ JO|NT
MOT|ON TO AMEND RULE 16(b) SCHEDUL|NG ORDER

 

This matter came before the Court pursuant to the parties’ Joint Motion to Amend Rule 16(b)
Schedu|ing Order.
lt appearing from the parties’ Motlon and supporting Memorandum of Law that the |Vlotion
is well taken, the Scheduling Order entered on November 5, 2004 is amended as follows:
_ |N|TIAL DlSCLOSURES (RULE 26 (a)(1)): December 3, 2004
JO|N|NG PART|ES:

for Plaintiff: June 15, 2005
for Defendant: June 15, 2005

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maurossm'or_rs{a) nach _ Q_S, 031-05 ..

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AMEND|NG PLEAD|NGS:

for P|aintiff: June 15, 2005
for Defendant: June 15, 2005

COMPLET|NG ALL DlSCOVERY:
(a) REQUESTS FOR PRODUCT|ON: August 1, 2005
(b) lNTERROGATOR|ES AND REQUESTS FOR ADMlSS|ONS:
October 1, 2005
(c) EXPERT DlSCLOSURE (RULE 26(a)(2)):
(i) P|aintiff’s Experts: October 15, 2005
(ii) Defendant’s Experts: November 15, 2005
(iii) Supplementation Under Rule 26(e): November 29, 2005
(d) DEPOS|T|ONS: December 22, 2005
FlLlNG DlSPOS|TlVE MOTIONS: December 29, 2005
FlNAL LISTS OF WlTNESSES AND EXH|B|TS (Rule 26(a)(3)):

(a) for P|aintiff 45 Days Before Trial
(b) for Defendant 30 Days Before Tria|

in all other respects the Scheduling Order remains as originally prepared.

ENTERED this thev/Qr`§|ay of f g@ , 2005.

<§ %/H QMJ

S. THON|AS ANDERSON
UN|TED STATES MAG|STRATE JUDGE

DATE:

 

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Honorable J ames Todd
US DISTRICT COURT

